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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                         CASE NO. 10-20131-CV-LENARD/O'SULLIVAN


   IN RE: AMERICAN AIRLINES FLIGHT 331.

          Defendant.


   THIS DOCUMENT RELATES TO:

  Devon Morris v. American Airlines


                    DEFENDANT AMERICAN AIRLINES,INC.'S
          MOTION IN LIMINE EXCLUDING LUMP SUM OR PER DIEM AWARD
                                ARGUMENTS

          Defendant AMERICAN AIRLINES, INC. ("American Airlines"), pursuant to this

  Court's Order, hereby files its Motion in Limine seeking to exclude from arguments to the jury

  pertaining to lump sum awards or per diem awards.

         PLAINTIFF SHOULD BE PRECLUDED FROM MAKING ANY LUMP SUM OR
         PER DIEM ARGUMENTS BEFORE THE JURY

         In this case, Plaintiff claims both economic and non-economic damages are present.

  While evidence will be presented throughout the trial to establish the basis for economic

  damages, there will be no such evidence establishing dollar figures for non-economic damages.

  Defendant anticipates that Plaintiffs counsel will attempt to use either lump sum or per diem

  arguments during opening statements and closing arguments to establish the amount of non-

  economic damages the Plaintiff is seeking from the jury. No objective test can assess the

  severity of Plaintiffs alleged non-economic losses, nor is there a satisfactory measure to

  translate this type of harm into dollars. Without a factual basis for doing so, Plaintiffs counsel
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   may ask for a sum certain or may request a monetary value for a certain unit of time and then

   calculate this for the jury. Once such an argument has been made to the jury, American Airlines

   has no effective way to "un-ring the bell" sounded by Plaintiff's counsel. Thus, American

   Airlines requests that the Court enter an Order prohibiting Plaintiffs counsel from using a lump

   sum or per diem argument to request a dollar amount for non-economic damages as such

   arguments are not relevant evidence.

          "Relevant evidence" is any evidence that has a tendency to make the existence of any fact

   that is of consequence to the determination of the action more probable or less probable than it

   would be without the evidence. See Fed. R. Evid. 401. However, the very nature of the non-

  economic damages sought by Plaintiff in this case—pain, and suffering        does not consist of

  relevant evidence to quantify the monetary loss.          Thus, any reference to a specific

   monetary sum is an argument unsupported by the evidence. Janich Bros., Inc. v. Am. Distilling

  Co., 570 F.2d 848, 860 (9th Cir. 1977). An argument suggesting a lump sum for non-economic

  damages is nothing more than the manipulation of the jury through the use of the psychological

  device of anchoring. This manipulation is an inappropriate interference with a jury's decision-

  making process and should be prevented by the Court.

          This type of argument is wholly different from an attorney's argument to a jury why a

  defendant should be found negligent or what the impact of pain and suffering was on a plaintiff.

  A request to find liability is based on evidence presented to the jury, but a request to award a

  specific lump sum in compensation for non-economic damages has no basis in evidence. An

  explanation of how a plaintiff has been affected by an accident is based on evidence, but the

  monetary value necessary to adequately compensate for the pain and suffering is ungrounded in

  any evidence. Further, this action does not present a situation where Plaintiffs counsel might
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   refer to a matter of common knowledge or make an illustration drawn from common experience.

   See, e.g., Tenorio v. United States, 390 F.2d 96, 99 (9th Cir. 1968) (noting that counsel may

   properly refer to matter not in evidence during a closing argument if the matter is of common

   knowledge or is an illustration drawn from common experience, history or literature.) This

   factual scenario is not a matter of common experience, and therefore any such reference by

   Plaintiff's counsel is improper.

          The mention of a specific dollar amount for non-economic damages is a masked attempt

   to place a value on damages which by definition cannot be so evaluated. Waldorf v. Shuta, 896

   F.2d 723, 744(3d Cir. 1990); Consorti v. Armstrong World Indus., Inc., 72 F. 3d 1003, 1016(2d

   Cir. 1995), vacated on other grounds, 518 U.S. 1031(1996). Furthermore, any reference to a

  dollar amount or range could have the improper effect of irrationally inflating the damages

  award. Rather than rely upon its own estimates and reasoning, a jury likely will give undue

  weight to the figures advanced by Plaintiffs counsel. Mileski v. Long Island R.R. Co., 499 F.2d

   1169, 1172(2d Cir. 1974).

          Per diem arguments, like lump sum arguments, cause the same mischief—they lend a

  false air of certainty to an area where none exists given that pain and suffering and other non-

  economic damages, by their very nature, are subjective experiences not capable of accurate

  quantification. Per diem arguments are little more than the concoction of a random dollar

  number plaintiffs' attorneys want the jury to award as compensation for a unit of time of loss,

  pain or suffering. There is no evidence that supports this argument.

          Simple multiplication may produce an astronomical product if a per diem approach to

  pain and suffering is allowed. DeWeese v. United States, 419 F. Supp. 170, 176-77 (D. Col.

  1976). Per diem arguments falsely assume that pain is continual and uniform when in fact it can
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   be intermittent. Nothing in the per diem calculation allows for the gradual decrease or increase of

   such pain. Furthermore, because alleged emotional distress is being estimated into the future,

   there is no allowance for a discount for the present use of the total award.

          Furthermore, American Airlines is prejudiced by being placed in a position of attempting

   to rebut an argument, such as a lump sum or per diem argument, that has no basis in evidence.

   The result is a Hobson's Choice: (1) if he does not answer in kind, he suffers its effect on the

  jury; or(2) if he does answer in kind, he thereby implies approval of the notion of a lump sum or

  per diem. Affeti v. Milwaukee & Suburbai Transport Corp, 106 N.W.2d 274, 278 (Wis. 1960);

   Caley v. Manicke, 182 N.E.2d 206, 208-09 (Ill. 1962); Ratner v. Arringion, 111 So. 2d 82, 88

  (Fla. 3d DCA 1959).

          Even if this Court determines that the use of lump sum and per diem arguments does not

   violate the rule that argument should be based on evidence admitted during trial or on reasonable

  inferences from that evidence, such arguments should be precluded as unduly prejudicial. The

  Court has the inherent ability to control closing arguments. Courts have held against the practice

  of requesting a specific dollar amount for non-economic damages because it risks unfairly

  swaying the jury by "anchoring the jurors' expectations of a fair award at a place set by counsel,

  rather than by the evidence." Consorti, 72 F.3d at 1016; Mileski„ 499 F.2d at 1172("A jury with

  little or no experience in such matters, rather than rely upon its own estimates and reasoning,

  may give undue weight to the figures advanced by Plaintiff's counsel."); Thomas v. Medco, No.

  95 Civ. 8401, 1998 WL 542321, at *12 (S.D.N.Y. 1998). Moreover, Plaintiff's counsel's

  argument for a specific monetary sum for non-economic damages during closing argument is an

  inappropriate appeal to the jurors' passions and prejudices. See, e.g., Soloria v. Atchison, T. &

  S.F. Ry. Co., 224 F.2d 544, 547 (10th Cir. 1955)(improper for counsel to use arguments that
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   appeal primarily to the jurors' passion or prejudice); Koltz v. Sears, Roebuck & Co., 267 F.2d 53,

   55 (7th Cir. 1959) (improper for counsel to make remarks intended to play on the jurors'

   sympathy); Westbrook v. Gen, Tire & Rubber Co., 754 F.2d 1233, 1238 (5th Cir. 1985).

          The suggestion of a lump sum amount or a per diem calculation does not assist the jury in

   its deliberations. Such arguments manipulate the jury. For this reason, this Court should preclude

   both lump sum and per diem arguments on non-economic damages on grounds that such

   arguments are irrelevant and would result in confusion of the issues, mislead the jury, and would

   be unduly prejudicial.

                                CERTIFICATE OF CONFERENCE

          Counsel for American Airlines hereby certifies that it conferred with counsel for Plaintiff

  on July 14, 2013 about the relief sought in this Motion in a good faith effort to resolve the issues

  contained in this Motion. Plaintiff was unable to agree with the relief requested.

                                                Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that on this 15th day of July, 2013, we electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF, which will send transmissions

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